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                UNITED STATES DISTRICT COURT
                EASTERN DISTRICT OF MICHIGAN
                     SOUTHERN DIVISION


 Eduardo Reyes-Trujillo, Gerardo
 Santiago-Hernandez, Miguel Angel
 Martinez-Barragan, Santos Bruno-       Case No. 20-11692
 Cruz, Pablo Mateo-Velazquez, and
 Andres Ponciano-Serna,                 Judith E. Levy
                                        United States District Judge
                        Plaintiffs,
                                        Mag. Judge R. Steven Whalen
 v.

 Four Star Greenhouse, Inc. and
 Thomas Smith,

                        Defendants.

 ________________________________/

     OPINION AND ORDER GRANTING IN PART AND
 DENYING IN PART DEFENDANTS’ MOTION TO DISMISS [18]

      Plaintiffs in this case are migrant workers from Mexico who came

to the United States in 2017 and 2018 on H-2A agricultural visas.

Plaintiffs assert that Defendants Thomas Smith and Four Star

Greenhouse, Inc. 1) did not compensate them for the work they

completed; and 2) when they complained about the money owed,

retaliated against them by having them jailed and then removed from

the United States. Plaintiffs allege violations of the Fair Labor Standards
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Act (FLSA), the Migrant and Seasonal Agricultural Worker Protection

Act (AWPA), the Trafficking Victims Protection Reauthorization Act

(TVPRA), and Michigan’s Workforce Opportunity Wage Act (WOWA).

They also assert claims for breach of contract and unjust enrichment

under Michigan law.

        For the reasons set forth below, Defendants’ motion is GRANTED

with respect to the TVPRA and unjust enrichment claims and DENIED

with respect to the FLSA, AWPA, and WOWA claims. Additionally, the

Court ORDERS supplementary briefing on the question of whether the

2017 Four Star Job Order, or any other understanding between the

parties, constituted an implied contract for purposes of Plaintiffs’ breach

of contract claim.

   I.     Background

        A. Defendants

        Four Star is a domestic corporation with its principle place of

business in Carleton, Michigan. (ECF No. 1, PageID.5, ¶ 22.) The

company “sells young plants and finished crops throughout the United

States to wholesale growers, retail growers, garden retailers and

professional landscapers,” employs over 100 workers annually, and has


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over $18 million in annual sales. (Id. at ¶¶ 23, 25.) Defendant Smith

founded Four Star in 1982 and is “the owner, President, Treasurer,

Resident Agent, and a Director of Four Star.” (Id. at PageID.6, ¶¶ 29–

30.)

       B. Defendants’ Recruiting Agent Vasquez Citrus & Hauling,
          Inc.

       Defendants contracted with Vasquez Citrus & Hauling, Inc. (VCH),

a farm labor contractor, to obtain noncitizen migrant workers on H-2A

visas for its Michigan facilities.1 (See id. at PageID.1, ¶ 2; PageID.8,

¶ 50.) VCH’s principle place of business is in Lake Placid, Florida, (id. at

PageID.8, ¶ 50), and it is owned by Juan Vasquez, (see id. at PageID.9,

¶ 56). In March 2016, VCH was fined “nearly $22,000 by the U.S.

Department of Transportation” for a fatal bus crash that killed six H-2A




       1Plaintiffs explain that, under the H-2A visa program, U.S. employers or their
agents may bring temporary agricultural workers to the United States when there
are not enough domestic workers available. (ECF No. 1, PageID.8, ¶ 46.) Foreign
nationals cannot apply for an H-2A visa on their own, and, once issued, the H-2A
visas are tied to specific employers and worksites. (Id. at ¶¶ 47–48.) Each visa is
associated with a job order, “which sets the terms and conditions of [a visa holder’s]
employment, including H-2A program requirements such as reimbursement for
inbound and outbound transportation costs to and from a worker’s hometown,
providing licensed migrant labor housing, the period of employment, and the hourly
pay rate—at minimum, the state-specific Adverse Effect Wage Rate.” (Id. at ¶ 49.)

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workers it was transporting back to Mexico from Michigan. (Id. at ¶ 53.)

The company was also “disciplined and issued a civil monetary penalty

by Florida’s Department of Business and Professional Regulation” on

August 31, 2017. (Id. at ¶ 54.) Subsequent to the events described in the

Complaint,

      the U.S. Department of Labor’s Wage and Hour Division
      debarred VCH and its owner, Juan Vasquez, from the H-2A
      program for three years due to VCH’s violations of the H-2A
      regulations in North Carolina, including failure to reimburse
      its H-2A workers for their inbound travel expenses and failure
      to provide adequate payroll or time records.
(Id. at ¶ 56.)

      In 2017, Defendants selected VCH to serve as a labor contractor to

recruit H-2A workers from Mexico to work at Four Star’s Monroe County,

Michigan facility. (Id. at PageID.1, ¶ 2; PageID.8, ¶ 50.) Smith signed the

contract with VCH on behalf of Four Star. (Id. at PageID.6, ¶ 31.) Under

the contract, VCH would “recruit and hire workers . . . to work at Four

Star’s nursery and greenhouse operations in Michigan.” (Id. at ¶ 32.)

Four Star agreed to “pay VCH an hourly rate based on workers’ hours

and based on the rate of pay provided to those workers.” (Id. at ¶ 35.)

Consistent with this agreement, “Four Star paid VCH based on a




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calculation of the number of hours worked by workers recruited by VCH,

including Plaintiffs.” (Id. at ¶ 36.)

      On December 11, 2017, VCH received authorization from the U.S.

Department of Labor to bring 145 workers to three addresses in

Michigan—all of which correspond to Four Star worksites—under H-2A

Job Order No. 8349344 (the “Four Star Job Order” or “Job Order”).2 (Id.

at PageID.10, ¶ 61.) The Job Order provided that “workers would work

‘in a commercial nursery,’ be paid $12.75 per hour, for an anticipated

thirty-six (36) hours of work per week, [with an] anticipated period of

employment of January 8, 2018 to July 30, 2018.” (Id. at ¶ 62; see also

ECF No. 37-1, PageID.409–413.)

      C. The 2017 Plaintiffs


      2  While the Four Star Job Order is referenced throughout the Complaint,
Plaintiffs did not attach it as an exhibit to their initial filing. Defendants similarly
did not attach a copy to their motion to dismiss. At the Court’s request, Plaintiffs
provided a copy of the Job Order through a “Notice of Supplemental Filing.” (ECF
Nos. 37, 37-1.)
       “While documents ‘integral’ to the complaint may be relied upon, even if [they
are] not attached or incorporated by reference, [i]t must also be clear that there exist
no material disputed issues of fact regarding the relevance of the document.”
Mediacom Se. LLC v. BellSouth Telecomms., Inc., 672 F.3d 396, 400 (6th Cir. 2012)
(alterations in original) (citations and internal quotation marks omitted). Because the
Four Star Job Order is integral to several of the claims alleged in the Complaint and
there is no dispute over the validity of the document, the Court will rely on it where
appropriate in evaluating this motion.

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      Plaintiffs Eduardo Reyes-Trujillo, Gerardo Santiago-Hernandez,

Miguel Angel Martinez-Barragan, Santos Bruno-Cruz, and Pablo Mateo-

Velazquez (collectively the “2017 Plaintiffs”) allege that VCH brought

them to the United States between May 2017 and September 2017 under

H-2A visas.3 (See ECF No. 1, PageID.3–4, ¶¶ 9–10.) Prior to traveling to

the United States, the 2017 Plaintiffs obtained valid H-2A visas under

various VCH job orders and “assumed personal loans with high interest

rates to pay out of pocket for travel to Monterrey[, Mexico to apply for

their visas], for their H-2A visa fees, and for related subsistence costs.”

(Id. at PageID.10–11, ¶¶ 67–69.) Despite the requirements of the H-2A

visa program, the 2017 Plaintiffs were not reimbursed for their visa or

travel costs within their first week in this country, yet they began

accruing interest on their loans. (See id. at PageID.12, ¶ 76.)




      3 Plaintiffs later state that “[a]t various times from May 2017 until February
2018, VCH, acting as an agent of the Defendants, recruited and transported Plaintiffs
from their homes in Mexico, with promises of well-paying work in the United States
as H-2A workers.” (ECF No. 1, PageID.10, ¶ 66 (emphasis added).) However, as
Defendants point out, the contract between Four Star and VCH was not signed until
November 21, 2017—well after the 2017 Plaintiffs had entered the U.S. (See ECF No.
18, PageID.137; see also ECF 18-1, PageID.173.) As such, VCH could not have been
acting on behalf of Defendants when it recruited and transported the 2017 Plaintiffs
to the United States.

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      Once in the United States, “the 2017 Plaintiffs were repeatedly

moved between different states or worksites outside the terms of their

contracts, and had little to no notice from [VCH] regarding where they

would be taken next or how long they would be required to work.” (Id. at

PageID.11, ¶ 72.) VCH also routinely failed to pay the 2017 Plaintiffs or

paid them with checks that had insufficient funds and could not be

cashed. (Id. at ¶ 73.) “Prior to being brought to Michigan to work for

Defendants, the 2017 Plaintiffs had not been paid for weeks of work and

[VCH] said they would only be paid if they worked in Michigan.” (Id. at

¶ 75.) VCH further “threatened to blacklist the 2017 Plaintiffs from the

H-2A program if they did not work in Michigan.” (Id. at PageID.12, ¶ 77.)

      Plaintiff Martinez-Barragan began working for Defendants in

December 2017. (Id. at PageID.4, ¶ 15.) Reyes-Trujillo, Santiago-

Hernandez, Bruno-Cruz, and Mateo-Velazquez began working for

Defendants in January 2018. (Id. at ¶¶ 13, 14, 16, 17.) “By the time

[VCH] brought the 2017 Plaintiffs to Four Star, . . . [they] were so

desperate for money for basic necessities, including food, with no means

of returning home to Mexico, that they had little choice but to work at

Four Star.” (Id. at PageID.12, ¶ 79.) Despite reassurances from VCH that


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their H-2A visas would be renewed, “by the time the 2017 Plaintiffs

arrived in Michigan to work at Four Star, their visas were expired.” (Id.

at ¶ 78; see also id. at PageID.15, ¶ 103.)

      D. Plaintiff Ponciano-Serna

      In February 2018, VCH brought Plaintiff Andres Ponciano-Serna

and other H-2A workers directly from Mexico to Michigan to work for

Defendants under the Four Star Job Order. (See id. at PageID.4, ¶¶ 11,

18; PageID.12, ¶ 80.) Like the 2017 Plaintiffs, he assumed personal loans

with high interest rates in order to pay for his visa and travel costs. (Id.

at PageID.11, ¶ 68; PageID.12, ¶ 81.) After Ponciano-Serna began

working for Four Star, he was not reimbursed for his visa fee, travel costs,

or subsistence expenses, “bringing his first week’s wages below minimum

wage.”4 (Id. at PageID.14–15, ¶ 102.)

      E. Plaintiffs’ Work at Four Star

      “By February 2018, all six named Plaintiffs were working at Four

Star’s Michigan worksite and living in migrant housing units located at

[the] Chestnut Hills Apartments, in Monroe, Michigan.” (Id. at



      4Plaintiffs also allege that Ponciano-Serna was “not reimbursed his full
outbound expenses to return home to Mexico.” (ECF No. 1, PageID.15, ¶ 102.)

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PageID.12, ¶ 82.) While working for Four Star, Plaintiffs “were

instructed to follow Four Star’s policies and procedures.” (Id. at PageID.6,

¶ 34.) However, Plaintiffs were never given a copy of their contract or the

written terms and conditions of their employment with Four Star. (Id. at

PageID.13, ¶¶ 83–84.)

      At Four Star’s nursery, Plaintiffs’ duties “consisted primarily of

choosing and transporting plants from the greenhouse to the shipping

department, where they ticketed plants with shipping code labels and

packed them for shipping around the country.” (Id. at ¶ 88.) In the course

of this work, they were also expected to build boxes, sweep the area, and

trim plants. (Id.) Plaintiffs were given “Four Star employee identification

numbers” and were expected to track their time “through an electronic

timekeeping system owned and operated by Four Star and developed by

Defendant Smith.” (Id. at PageID.14, ¶¶ 93–94; see also PageID.6–7,

¶¶ 37–38.) They also received “electronic key cards and the designated

codes that corresponded to their different tasks” and were required “to

scan their key cards each time they changed tasks.” (Id. at PageID.14,

¶ 95.) Throughout, all of Plaintiffs’ work “was conducted at Four Star

owned and operated facilities.” (Id. at PageID.13, ¶ 86.)


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      During this time, “Defendants’ employees directly supervised every

aspect of Plaintiffs’ work, including: training Plaintiffs on their job duties

and requirements; assigning and supervising tasks throughout the day;

each day, reviewing and correcting any errors throughout the day; and

generally maintaining a constant physical presence throughout every

shift.” (Id. at ¶ 90.) They also “provided Plaintiffs with all their tools and

equipment, including gloves and tools to move and transport the plants.”

(Id. at ¶ 89.) Plaintiffs’ work schedules, start and end times, and work

assignments were all dictated by Defendants, (id at ¶ 91), and

Defendants often required Plaintiffs to work more than sixty hours per

week. (Id. at PageID.14, ¶ 92.) Defendants could also select particular

workers from VCH, including Plaintiffs, who would remain employed at

Four Star for an indefinite amount of time. (Id. at ¶ 96.)

      While Plaintiffs were supposed to be compensated on a weekly basis

at $12.75 per hour, they “were not paid on time, not paid consistently,

and were not paid at all for hundreds of hours of work at Four Star.” (Id.

at ¶ 99.) They were repeatedly paid with checks that bounced and rarely

received paystubs. (Id. at ¶¶ 100–01.)

      F. Retaliation Against 2017 Plaintiffs for Unpaid Wages


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      “While working at Four Star, the 2017 Plaintiffs repeatedly

complained to Defendants and [VCH] that they had not been paid.” (Id.

at PageID.15, ¶ 108.) Reyes-Trujillo, Martinez-Barragan and Bruno-

Cruz complained directly to VCH about their unpaid wages. (Id. at

PageID.16, ¶ 114.) Santiago-Hernandez complained directly to two of his

supervisors at Four Star about his unpaid wages. (Id. at ¶ 113.) Mateo-

Velazquez was told by VCH “that they knew someone was complaining

to Four Star” about their pay, (id. at ¶ 111), and that if VCH found out

Mateo-Velazquez had complained to Four Star “he would be sent back to

Mexico and blacklisted from the H-2A program.” (Id. at ¶ 112.)5

      On March 21, 2018, VCH’s Francisco Vasquez told Reyes-Trujillo,

Santiago-Hernandez, Martinez-Barragan, and Mateo-Velazquez to clean

their apartments, pack away their personal items, and board a VCH

bus—ostensibly so that Plaintiffs could go shopping at a Walmart during

an inspection of the apartments. (Id. at PageID.16–17, ¶¶ 116–17.) When

they arrived at the Walmart, “immigration agents were waiting and

arrested [the four] Plaintiffs as they walked off the bus into the parking



      5The Complaint does not specify who made these statements to Mateo-
Velazquez.

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lot.” (Id. at PageID.17, ¶ 118.) Vasquez then called a number of other

workers, including Bruno-Cruz, and summoned them to the Walmart

under false pretenses, where they were also arrested by immigration

officials. (Id. at ¶¶ 118–20.) Vasquez then “drove off in the bus, leaving

the 2017 Plaintiffs and the other workers to be carted off by immigration

agents, jailed, and placed in deportation proceedings.” (Id. at ¶ 121.)

      The 2017 Plaintiffs were then jailed at Calhoun County

Correctional Center for over a month “until they were forced to depart

from the United States.” (Id. at ¶ 123.) They incurred significant

expenses in returning to Mexico, which were never reimbursed. (Id. at

PageID.18, ¶ 124.) Prior to their detention, the 2017 Plaintiffs had gone

approximately four weeks without being paid. (Id. at PageID.16, ¶ 115.)

Moreover, their personal belongings, including clothing and identity

documents, were left in their apartments and not returned to them. (Id.

at PageID.17, ¶ 122.) “The 2017 Plaintiffs have since been unable to get

hired for jobs in the H-2A Program, either because they have been

blacklisted, because they still have not recovered their travel documents

and cannot afford new ones, or both.” (Id. at PageID.18, ¶ 125.)

      G. Procedural Background


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      Plaintiffs filed this complaint on June 25, 2020. (ECF No.1.) The

Complaint asserts eight causes of action:

      1) failure to pay minimum wages under the FLSA by all
         Plaintiffs against both Defendants;6
      2) violations of the FLSA’s anti-retaliation provisions by the
         2017 Plaintiffs against both Defendants;
      3) violations of the AWPA by the 2017 Plaintiffs against both
         Defendants;
      4) violations of the AWPA’s anti-retaliation provisions by the
         2017 Plaintiffs against both Defendants;
      5) violations of the TVPRA by the 2017 Plaintiffs against both
         Defendants;
      6) violations of Michigan’s WOWA by all Plaintiffs against
         both Defendants;
      7) breach of contract by all Plaintiffs against Four Star only;
         and
      8) unjust enrichment        by   all   Plaintiffs   against   both
         Defendants.

      On September 16, 2020, Defendants filed a motion to dismiss the

Complaint for failure to state a claim. (ECF No. 18.) That same day,

Defendants also filed a third-party complaint against VCH. (ECF No. 17.)

Plaintiffs responded to Defendants’ motion on October 14, 2020, (ECF No.

27), and were joined by amicus curiae, the National Employment Law



      6  Plaintiffs bring this claim as a FLSA collective action under 29 U.S.C.
§ 216(b). (See ECF No. 1, PageID.18–19, ¶¶ 126–34.)

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Project, (ECF No. 25-1.)7 Defendants replied on October 29, 2020. (ECF

No. 30.) The Court heard oral argument on the motion via video tele-

conference on December 7, 2020.

   II.        Legal Standard

         When deciding a motion to dismiss under Federal Rule of Procedure

12(b)(6), the Court must “construe the complaint in the light most

favorable to the plaintiff and accept all allegations as true.” Keys v.

Humana, Inc., 684 F.3d 605, 608 (6th Cir. 2012). “To survive a motion to

dismiss, a complaint must contain sufficient factual matter, accepted as

true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atlantic Corp. v. Twombly,

550 U.S. 544, 570 (2007)). A plaintiff’s claim is facially plausible “when

the plaintiff pleads factual content that allows the court to draw the

reasonable inference that the defendant is liable for the misconduct

alleged.” Id. A plausible claim need not contain “detailed factual

allegations,” but it must contain more than “labels and conclusions” or “a




         7   The Court granted amicus leave to file in a text-only order on October 29,
2020.

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formulaic recitation of the elements of a cause of action.” Twombly, 550

U.S. at 555.

   III. Analysis

      A. Failure to Pay Minimum Wages Under the FLSA

      First, Plaintiffs allege that Defendants are liable to them and all

other similarly situated current and former employees under the FLSA

for failure to pay minimum wages. For the reasons below, this claim may

proceed against both Four Star and Smith.

      Under the FLSA, employers must pay their employees a minimum

wage if the employees are “engaged in commerce or in the production of

goods for commerce, or . . . employed in an enterprise engaged in

commerce or in the production of goods for commerce.” 29 U.S.C. § 206(a);

see also 29 U.S.C. § 215(a)(2). “Congress passed the FLSA with broad

remedial intent.” Keller v. Miri Microsystems LLC, 781 F.3d 799, 806 (6th

Cir. 2015) (citing Powell v. U.S. Cartridge Co., 339 U.S. 497, 509–11, 515

(1950)). In doing so, Congress intend the FLSA to “correct labor

conditions detrimental to the maintenance of the minimum standard of

living necessary for health, efficiency, and general well-being of workers.”

Id. (internal quotations omitted) (quoting Donovan v. Brandel, 736 F.2d


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1114, 1116 (6th Cir. 1984)). Accordingly, “[c]ourts interpreting the FLSA

must consider Congress’s remedial purpose.”8 Id.

      “While the [FLSA] does define the terms ‘employee,’ ‘employer,’ and

‘employ,’ the definitions are exceedingly broad and generally unhelpful.”9

Solis v. Laurelbrook Sanitarium & Sch., Inc., 642 F.3d 518, 522 (6th Cir.

2011) (citations omitted). “Whether an employment relationship exists

under a given set of circumstances ‘is not fixed by labels that parties may

attach to their relationship nor by common law categories nor by

classifications under other statutes.’” Id. (quoting Powell, 339 U.S. at

528). Instead, “it is the ‘economic reality’ of the relationship between

parties that determines whether their relationship is one of employment



      8 However, the Supreme Court has recently cautioned that the FLSA does not
“pursue[] its remedial purpose at all costs” and instead must be given a “fair”
interpretation. Encino Motorcars, LLC v. Navarro, ––– U.S. ––––, 138 S.Ct. 1134,
1142 (2018) (rejecting the Ninth Circuit’s narrow construction of the FLSA’s
exemptions); see also Diaz v. Longcore, 751 F. App’x 755, 758–59 (6th Cir. 2018)
(holding that outside counsel was not the plaintiff’s employer because he was not
acting “on behalf of the actual employer . . . with respect to the employment
relationship” and declining to interpret “employer” more broadly in the retaliation
context than in the wage-and-hour context).

      9  “‘[E]mployee’ means any individual employed by an employer.” 29 U.S.C.
§ 203(e)(1). “‘Employer’ includes any person acting directly or indirectly in the
interest of an employer in relation to an employee.” 29 U.S.C. § 203(d). “‘Employ’
includes to suffer or permit to work.” 29 U.S.C. § 203(g).

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or something else.” Id. (citing Tony & Susan Alamo Found. v. Sec’y of

Labor, 471 U.S. 290, 301 (1985)); see also Acosta v. Off Duty Police Servs.,

Inc., 915 F.3d 1050, 1055 (6th Cir. 2019) (“To determine whether a

worker fits within this expansive definition, we must look to see whether

[the] worker, even when labeled as an ‘independent contractor,’ is, as a

matter of ‘economic reality,’ an employee.”) As the amicus explains, “the

often-invoked concept of ‘economic reality’ is really a shorthand reminder

to courts to look beyond technical distinctions, self-serving statements of

subjective intent, contracts, or the labels putative employers give their

workers, to discern the actual, objective, economic relationships among

the parties.” (ECF No. 25-1, PageID.260 (citing Goldberg v. Whitaker

House Co-op, Inc., 366 U.S. 28, 33 (1961)).)

            Joint Employment by Four Star

      “[M]ore than one ‘employer’ can be simultaneously responsible for

FLSA obligations.” Fegley v. Higgins, 19 F.3d 1126, 1131 (6th Cir. 1994)

(citing Dole v. Elliott Travel & Tours, Inc., 942 F.2d 962, 965 (6th Cir.

1991)). The terms “joint employer” and “joint employment” are not

defined in the FLSA. While the Sixth Circuit has articulated factors for

analyzing when a corporate officer is also an employer under the FLSA,


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see id., it has not explicitly identified a test for evaluating joint

employment relationships in the context of FLSA claims. See Sutton v.

Cmty. Health Sys., Inc., No. 1:16-cv-01318-STA-EGB, 2017 WL 3611757,

at *3 (W.D. Tenn. Aug. 22, 2017). District courts in this Circuit are

divided with respect to the proper test (or tests) to apply to determine if

a defendant is a joint employer. See, e.g., Ali v. Piron, LLC, No. 17-CV-

11012, 2018 WL 1185271, at *3–5 (E.D. Mich. Mar. 7, 2018) (discussing

several approaches). Below, the Court discusses a number of potential

frameworks for analyzing joint employment.

            a. The Frameworks Proposed by the Parties

      The parties propose different approaches for determining whether

Four Star was Plaintiffs’ joint employer with VCH under the FLSA. In a

footnote of their opening brief, Defendants point to the Ninth Circuit’s

four-factor test in Bonnette v. Cal. Health & Welfare Agency, 704 F.2d

1465, 1470 (9th Cir. 1983), but then fail to accurately apply its factors to

the facts alleged in the Complaint.10 (See ECF No. 18, PageID.163 n.1.)


      10  Plaintiffs frame the Bonnette question as one relying on Defendants
“ha[ving] no economic dependence on Plaintiffs.” (ECF No. 18, PageID.163 n.1). But
as the Court discusses above, this is an inaccurate analysis of the Bonnette line of
reasoning, which focuses on the worker’s economic dependence on the putative
employer. See Torrez-Lopez, 111 F.3d at 640-41.

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Plaintiffs suggest that the Court should analyze joint employment under

the FLSA and joint employment under the AWPA together by relying on

the factors articulated in the AWPA regulations.11 (ECF No. 27,

PageID.294 (citing 29 C.F.R. § 500.20(h)(5)).) In their reply, Defendants

do not return to Bonnette but instead assert that two related Sixth Circuit

Title VII decisions—Sanford v. Main St. Baptist Church Manor, Inc., 449

F. App’x 488, 491 (6th Cir. 2011), and Swallows v. Barnes & Noble Book

Stores, Inc., 128 F.3d 990, 993 (6th Cir. 1997)—govern questions of joint

employment in this Circuit. (See ECF No. 30, PageID.366.)

            b. The Department of Labor’s Regulations & Bonnette

      Courts have frequently begun their analysis of joint employment

with the Department of Labor’s interpretive regulations of the FLSA in

29 C.F.R. § 791.2. From 1958 until March 16, 2020, these regulations

explained that:



      11Several Circuits have taken this approach and analyzed joint employment
claims under the FLSA and the AWPA simultaneously. See, e.g., Torres-Lopez v. May,
111 F.3d 633 (9th Cir. 1997); Antenor v. D & S Farms, 88 F.3d 925 (11th Cir. 1996).
However, as the Eleventh Circuit has noted in a more recent case addressing only the
FLSA, “[a]lthough the AWPA defines joint employment by reference to the definition
provided in the FLSA, that does not mean that the reverse holds true—that joint
employment under the FLSA is invariably defined by AWPA regulations.” Layton v.
DHL Exp. (USA), Inc., 686 F.3d 1172, 1177 (11th Cir. 2012).

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      (a) A single individual may stand in the relation of an
      employee to two or more employers at the same time under
      the Fair Labor Standards Act of 1938 . . . . [I]f the facts
      establish that the employee is employed jointly by two or more
      employers, i.e., that employment by one employer is not
      completely disassociated from employment by the other
      employer(s), all of the employee’s work for all of the joint
      employers during the workweek is considered as one
      employment for purposes of the Act. In this event, all joint
      employers are responsible, both individually and jointly, for
      compliance with all of the applicable provisions of the act . . .
      with respect to the entire employment for the particular
      workweek. . . .
      (b) Where the employee performs work which simultaneously
      benefits two or more employers, or works for two or more
      employers at different times during the workweek, a joint
      employment relationship generally will be considered to exist
      in situations such as:
            (1) Where there is an arrangement between the
            employers to share the employee’s services, as, for
            example, to interchange employees; or
            (2) Where one employer is acting directly or indirectly in
            the interest of the other employer (or employers) in
            relation to the employee; or
            (3) Where the employers are not completely
            disassociated with respect to the employment of a
            particular employee and may be deemed to share control
            of the employee, directly or indirectly, by reason of the
            fact that one employer controls, is controlled by, or is
            under common control with the other employer.

29 C.F.R. § 791.2 (effective though March 15, 2020) (footnotes omitted).


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      On January 16, 2020, the Department of Labor issued a Final Rule,

85 Fed. Reg. 2820, which significantly revised these regulations.

Relevant to this case, the updated regulations now provide that:

      (a)(1) In the first joint employer scenario, the employee has an
      employer who suffers, permits, or otherwise employs the
      employee to work, but another person simultaneously benefits
      from that work. The other person is the employee’s joint
      employer only if that person is acting directly or indirectly in
      the interest of the employer in relation to the employee. In
      this situation, the following four factors are relevant to the
      determination. Those four factors are whether the other
      person:
                   (i) Hires or fires the employee;
                   (ii) Supervises and controls the employee’s work
                   schedule or conditions of employment to a
                   substantial degree;
                   (iii) Determines the employee’s rate and method of
                   payment; and
                   (iv) Maintains     the   employee’s    employment
                   records.
            ....
            (3)(i) The potential joint employer must actually
            exercise—directly or indirectly—one or more of these
            indicia of control to be jointly liable under the Act. No
            single factor is dispositive in determining joint employer
            status under the Act. Whether a person is a joint
            employer under the Act will depend on how all the facts
            in a particular case relate to these factors, and the
            appropriate weight to give each factor will vary
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             depending on the circumstances of how that factor does
             or does not suggest control in the particular case.

29 C.F.R. § 791.2 (effective March 16, 2020) (citations omitted).12 The

revised regulations expressly adopt the Ninth Circuit’s four factor

Bonnette framework for analyzing joint employment. 85 Fed. Reg. 2820,

2820. The Bonnette approach has also been adopted by several other

Circuits, including the First, Third, and Fifth. See, e.g., Baystate Alt.

Staffing, Inc. v. Herman, 163 F.3d 668, 675–76 (1st Cir. 1998); In re

Enter. Rent-A-Car Wage & Hour Emp. Pracs. Litig., 683 F.3d 462, 468–

70 (3d Cir. 2012); Gray v. Powers, 673 F.3d 352, 354–57 (5th Cir. 2012).

Several district courts in this Circuit have also applied Bonnette’s four

factors in analyzing joint employment allegations. See, e.g., Smith v.

Guidant Glob. Inc., No. 19-CV-12318, 2019 WL 6728359, at *3–5 (E.D.

Mich. Dec. 11, 2019); Dowd v. Directv, LLC, No. 14-CV-14018, 2016 WL




      12  The regulations also provide that additional factors may be relevant but
“only if they are indicia of whether the potential joint employer exercises significant
control over the terms and conditions of the employee’s work.” 29 C.F.R. § 791.2(b)
(effective March 16, 2020). However, the regulations explicitly reject any
consideration of factors that look at an employee’s economic dependence on the
purported joint employer. Id. at § 791.2(c). If a joint employment relationship is
established, joint employers may be held jointly and severally liable with the
employer and other joint employers for violations of the Act. Id. at § 791.2(f).

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28866, at *5–5 (E.D. Mich. Jan. 4, 2016). Other Circuits have criticized

Bonnette for being too singularly focused on the issue of control—the

cornerstone of common-law agency theory which the FLSA explicitly

rejected in adopting its “to suffer or permit to work” definition of

employment. See Salinas v. Com. Interiors, Inc., 848 F.3d 125, 135–37

(4th Cir. 2017); see also Zheng v. Liberty Apparel Co. Inc., 355 F.3d 61,

66–69 (2d Cir. 2003) (explaining that while the Bonnette factors are

sufficient to establish joint employment, they are neither exclusive or

necessary).

      After the adoption of the Final Rule, seventeen states and the

District of Columbia       sued the Department, alleging that the

Department’s changes to the joint employment regulations violated the

APA. See New York v. Scalia, No. 1:20-CV-1689-GHW, 2020 WL 5370871,

at *8 (S.D.N.Y. Sept. 8, 2020). On September 8, 2020, the Honorable

Gregory H. Woods of the Southern District of New York found that the

Department’s new interpretation of the FLSA was arbitrary and

capricious and vacated the revised § 791.2, with the exception of

subparagraph (e). Id. at *34. The court held that, unlike Bonnette and its

variants, the Final Rule requires joint employers to actually exercise


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control, id. at *25–29, and expressly excludes consideration of economic

dependence, id. at *29–31. The Department subsequently appealed that

decision, and the case is currently pending before the Second Circuit. See

New York v. Scalia, No. 20-3806 (2d Cir. Nov. 6, 2020).

            c. The Title VII Standard in Swallows and Sanford

      Instead of Bonnette or the Final Rule, several district courts in this

Circuit have looked to the Sixth Circuit’s decisions in Swallows and

Sanford, which analyzed joint employment claims under Title VII of the

Civil Rights Act of 1964. See, e.g., Martin v. Lincor Eatery, Inc., 423 F.

Supp. 3d 432, 443–44 (E.D. Mich. 2019); Rhea v. W. Tennessee Violent

Crime & Drug Task Force, No. 2:17-cv-02267-JPM-CGC, 2018 WL

7272062, *3–5 (W.D. Tenn. Dec. 12, 2018); Sutton, 2017 WL 3611757, at

*3–4. In Sanford, which built on Swallows, the court explained that, in

the context of Title VII, “[t]he joint-employer doctrine involves a business

that maintains sufficient control over some or all of the formal employees

of another business as to qualify as those employees’ employer.” 449 F.

App’x at 491 (citing Swallows, 128 F.3d at 993 n.4). Factors relevant to

this analysis include the alleged joint employer’s “ability to hire, fire, and




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discipline, affect compensation and benefits, and direct and supervise

performance.” Id. at 492.

      Similar to the Bonnette factors and the revised regulations, Sanford

and Swallows’ exclusive focus on the purported joint employer’s control

runs counter to the FLSA’s expansive definition of “employer.” Moreover,

as the Third Circuit has noted, the FLSA’s departure from traditional

concepts of agency law creates a “‘textual asymmetry’ between Title VII

and the FLSA.” Faush v. Tuesday Morning, Inc., 808 F.3d 208, 214 (3d

Cir. 2015); compare 29 U.S.C. § 203(d), (e)(1), (g) with 42 U.S.C. § 2000e

(b), (f). For these reasons, Sanford and Swallows do not provide an

adequate framework for analyzing joint employment claims under the

FLSA.

            d. The Standard in Int’l Longshorman

      Several other district courts in this Circuit have also considered the

Sixth Circuit’s decision in Int’l Longshoremen’s Ass’n, AFL-CIO, Local

Union No. 1937 v. Norfolk S. Corp., 927 F.2d 900, 902 (6th Cir. 1991),

when analyzing joint employment claims under the FLSA. See, e.g.,

Sutton, 2017 WL 3611757, at *3–4; Keeton v. Time Warner Cable, No.

2:09-CV-1085, 2010 WL 2076813, at *2 (S.D. Ohio May 24, 2010). In the


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context of a labor union dispute, the Int’l Longshoremen court explained

that the key question was whether the employer “possesses sufficient

control over the work of employees.” 927 F.2d at 902. The court pointed

to four factors for analyzing whether two companies are joint employers:

1) “the interrelation of operations between the companies,” 2) “common

management,” 3) “centralized control of labor relations,” and 4) “common

ownership.” Id. (quoting Metro. Detroit Bricklayers Dist. Council v. J.E.

Hoetger & Co., 672 F.2d 580, 584 (6th Cir. 1982)). But this exclusive focus

on control again ignores the breadth of the FLSA’s definition of

“employer”, rendering the Int’l Longshoreman framework inadequate for

our purposes.

            e. The Existing Sixth Circuit Economic Reality Test

      Of these approaches, the Bonnette factors are the most consistent

with the FLSA’s expansive definition of “employer” because they

contemplate factors beyond the purported joint employer’s level of

control. However, “the FLSA does not distinguish between employers and

joint employers. Any factor that is relevant to whether an entity is an

employer is also relevant to whether the entity is a joint employer.”

Scalia, 2020 WL 5370871, at *29. Because the Sixth Circuit has


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articulated a test for evaluating the economic reality of direct

employment relationships under the FLSA, Acosta, 915 F.3d at 1055, the

Court will apply this test to evaluate whether Four Star was Plaintiffs’

joint employer. This consists of six factors:

      1) the permanency of the relationship between the parties;

      2) the degree of skill required for the rendering of the services;

      3) the worker’s investment in equipment or materials for the
      task;

      4) the worker’s opportunity for profit or loss, depending upon
      his skill;

      5) the degree of the alleged employer’s right to control the
      manner in which the work is performed . . . ; and

      6) whether the service rendered is an integral part of the
      alleged employer’s business.

Id. (alterations in original) (internal quotation marks omitted) (quoting

Keller, 781 F.3d at 807). The Sixth Circuit has “also considered whether

the business had ‘authority to hire or fire the plaintiff,’ and whether the

defendant-company ‘maintains the plaintiff’s employment records.’”

Keller, 781 F.3d at 807 (quoting Ellington v. City of E. Cleveland, 689

F.3d 549, 555 (6th Cir. 2012)). “None of these factors is determinative on

its own, and each must be considered ‘with an eye toward the ultimate

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question—[the worker’s] economic dependence on or independence from’

the alleged employer.” Acosta, 915 F.3d at 1055 (alteration in original)

(quoting Keller, 781 F.3d at 807).

      For the reasons below, the Court finds that each of these factors

weighs in favor of finding a joint employment relationship between

Plaintiffs and Four Star.

              i.   Permanency of the Relationship

      The first factor considers the “length and regularity of the working

relationship between the parties.” Acosta, 915 F.3d at 1057 (quoting

Keller, 781 F.3d at 807). However, “even short, exclusive relationships

between the worker and the company may be indicative of an employee-

employer relationship.” Keller, 781 F.3d at 807. In the context of seasonal

agricultural harvesting, an exclusive, season-long relationship is

indicative of permanency. Perez v. Howes, 7 F. Supp. 3d 715, 723 (W.D.

Mich. 2014), aff’d sub nom., Perez v. D. Howes, LLC, 790 F.3d 681 (6th

Cir. 2015); see also Sec’y of Labor v. Lauritzen, 835 F.2d 1529, 1537 (7th

Cir. 1987). In concluding that this factor did not favor either party, the

district court in Perez explained that “[t]he harvest lasted only 45 days,

but most of the workers worked for the entire harvest;” “[t]he great


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majority of the workers worked solely at the cucumber harvest;” and

“there [was] no indication that the workers had other full-time jobs

throughout the harvest.” 7 F. Supp. 3d at 723–24.

      The Four Star Job Order provided an “anticipated period of

employment of January 8, 2018 to July 30, 2018.” (ECF No. 1, PageID.10,

¶ 62.) The Complaint does not address whether this period corresponded

to a particular harvest season. Ponciano-Serna worked at Four Star for

all but the first month of the Job Order, arriving in February 2018 and

working until the conclusion of the Order in July. (Id. at PageID.4, ¶ 18.)

While the 2017 Plaintiffs worked at Four Star for only three to four

months, they contend that “their employment was only cut short by

Defendants’ unlawful retaliation.” (ECF No. 27, PageID.297.) Though

Plaintiffs do not state explicitly that they worked exclusively at Four Star

during this period, the allegation that they regularly worked over sixty

hours per week supports a reasonable inference that they had little

opportunity to perform other work. (See id. at PageID.14, ¶ 92.) As such,

this factor weighs in favor of finding that Four Star was Plaintiffs’ joint

employer.

             ii.   Degree of Skill Required


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      The next factor considers the worker’s skillset in relation to the task

being performed. Acosta, 915 F.3d at 1055 (citing Brandel, 736 F.2d at

1118). The focus of this inquiry is not the skills possessed by the workers,

but “the degree of skill required for the rendering of the services.” Id. at

1056 (emphasis in original) (quoting Keller, 781 F.3d at 807). Other

Circuits have considered whether a task requires initiative, judgment,

foresight, or special skills. Torres-Lopez, 111 F.3d at 644.

      Here, “Plaintiffs’ duties at Four Star consisted primarily of choosing

and transporting plants from the greenhouse to the shipping department,

where they ticketed plants with shipping code labels and packed them

for shipping around the country.” (ECF No. 1, PageID.13, ¶ 88.) They

were also responsible for “building boxes, sweeping, and trimming

plants.” (Id.) Defendants contend that “[w]ith respect to the degree of

skill required, Plaintiffs make no allegations.” (ECF No. 18, PageID.158.)

However, the tasks described by Plaintiffs do not normally require

specialized skills or advanced training, and Defendants concede in their

reply that this factor favors Plaintiffs.13 (ECF No. 30, PageID.369.) Thus,


      13 Defendants’ contention that “[a]ll H2-A [sic] situations would seem similar,”
(ECF No. 30, PageID.369), is incorrect. See, e.g., Brandel, 736 F.2d at 1118 (finding
that the knowledge required for “rowing, blocking and picking for the smaller grades
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this factor weighs heavily in favor of finding that Four Star was Plaintiffs’

joint employer.

             iii.   Workers’ Investment

      The following factor considers the workers’ investment in

specialized equipment to complete their assigned tasks. Acosta, 915 F.3d

at 1056. “This factor requires comparison of the worker’s total investment

to ‘the company’s total investment, including office rental space,

advertising, software, phone systems, or insurance.’” Id. (quoting Keller,

781 F.3d at 810). “The capital investment factor is most significant if it

reveals that the worker performs a specialized service that requires a tool

or application which he has mastered.” Id. (quoting Brandel, 736 F.2d at

1118–19).

      Four Star operates a large successful agricultural business that

“employs over 100 employees yearly and generates over $18 million in

annual sales.” (ECF No. 1, PageID.5, ¶ 25.) It uses a sophisticated

electronic timekeeping system and labor tracking system that Smith




of pickles,” and the workers’ sole responsibility for monitoring the daily irrigation and
insecticide needs of the fields, supported the judge’s conclusion that the work required
a heightened degree of skill).

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developed. (Id. at PageID.6–7, ¶¶ 37–38.) Plaintiffs were issued

“electronic key cards” by Four Star, which were used to track the tasks

they completed. (Id. at PageID.14, ¶ 95.) “Defendants [also] provided

Plaintiffs with all their tools and equipment, including gloves and tools

to move and transport the plants.” (Id. at PageID.13, ¶ 89.)

      While Plaintiffs incurred significant personal expenses and debt in

order to obtain their H-2A visas and travel to the United States, (see ECF

No. 1, PageID.3, ¶ 9; PageID.11, ¶ 68), these expenses are dwarfed by the

capital Defendants invested to create a sustain a multimillion-dollar

business with multiple locations. Defendants’ citation to Perez

underscores this point. (See ECF No. 18, PageID.159.) In finding that the

farm workers were employees of a cucumber farmer, the district court

explained:

      The record is clear that [d]efendant’s investment dwarfed that
      of the workers. The workers were not required to provide any
      of their own equipment, although many supplied their own
      dishwashing gloves, and some brought their own
      wheelbarrows. In contrast, [d]efendant supplied hoes,
      collection boxes, and the forklifts used to lift the boxes.

Perez, 7 F. Supp. 3d at 725 (footnote omitted). Therefore, this factor

strongly supports a finding that Four Star was Plaintiffs’ joint employer.

             iv.   Opportunity for Profit or Loss

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      The next factor considers whether the workers’ opportunity for

profit or loss depended on their managerial or technical skills. Acosta,

915 F.3d at 1059. As the Sixth Circuit has explained, “[c]ourts evaluate

this factor by asking if workers ‘could exercise or hone their managerial

skill to increase their pay.’” Id. (quoting Schultz v. Cap. Int’l Sec., Inc.,

466 F.3d 298, 307 (4th Cir. 2006)). If a worker can compete for more work

by increasing their efficiency, this factor may weigh against finding an

employment relationship. Id.

      Based on the Four Star Job Order, Plaintiffs were to be paid at a

fixed hourly rate, $12.75 per hour, on a weekly basis. (ECF No. 1,

PageID.10, ¶ 62; PageID.14, ¶ 99.) This wage was only subject to

adjustment based on a change to the Adverse Effect Wage Rate.14 (Id. at



      14  The Adverse Effect Wage Rate (AEWR) is “[t]he annual weighted average
hourly wage for field and livestock workers (combined) in the States or regions as
published annually by the U.S. Department of Agriculture (USDA) based on its
quarterly wage survey.” 20 C.F.R. § 655.103(b). “[A]n employer must offer, advertise
in its recruitment, and pay a wage that is the highest of the AEWR, the prevailing
hourly wage or piece rate, the agreed-upon collective bargaining wage, or the Federal
or State minimum wage.” Id. at § 655.120(a) “If the prevailing hourly wage rate or
piece rate is adjusted during a work contract, and is higher than the highest of the
AEWR, the prevailing wage, the agreed-upon collective bargaining wage, or the
Federal or State minimum wage, in effect at the time the work is performed, the
employer must pay that higher prevailing wage or piece rate, upon notice to the
employer by the Department.” Id. at § 655.120(b)

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PageID.10, ¶ 60; ECF No. 18-1, PageID.173.) Nothing in the Complaint

or the Four Star and VCH contract suggests Plaintiffs were eligible for

any other form of compensation based on increased efficiency or skill.

Therefore, this factor further supports a finding that Four Star was

Plaintiffs’ joint employer.

             v.   Right to Control

      This factor considers the degree of control the putative employer

may exercise over the workers. Acosta, 915 F.3d at 1060. “To guide this

evaluation, [the court] ask[s] whether the company ‘retains the right to

dictate the manner’ of the worker’s performance.” Id. (quoting Brandel,

736 F.2d at 1119). However, “‘[t]he absence of need to control should not

be confused with the absence of right to control,’ and the actual exercise

of control ‘requires only such supervision as the nature of the work

requires.’” Id. at 1061 (alteration in original) (quoting Peno Trucking, Inc.

v. Comm’r of Internal Revenue, 296 F. App’x 449, 456 (6th Cir. 2008)).

      While working at Four Star, Plaintiffs were directly supervised by

Four Star employees. (ECF No. 1, PageID.13, ¶ 90.) These employees

trained Plaintiff on their job duties, assigned and supervised their work

throughout the day, reviewed and corrected errors made by Plaintiffs,


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and maintained a “constant physical presence throughout every shift.”

(Id.) Four Star provided all of the tools and equipment Plaintiffs used to

complete their work. (Id. at ¶ 89.) Plaintiffs were required to track their

time through Four Star’s electronic timekeeping system and track their

tasks using electronic key cards provided by Four Star. (Id. at PageID.14,

¶¶ 94–95.) Four Star also “set the Plaintiffs’ daily work schedules,

controlled Plaintiffs’ daily starting and stopping times, and work

assignments,” (id. at PageID.13, ¶ 91), frequently requiring Plaintiffs to

work over sixty hours per week. (Id. at PageID.14, ¶ 92.) All of Plaintiffs

work for Four Star “was conducted at Four Star owned and operated

facilities.” (Id. at PageID.13, ¶ 86.)

      Defendants’ only response to these assertions is to claim that they

lack factual details or specifics and to demand more detail regarding

what equipment was provided, how Plaintiffs were supervised, and how

Four Star controlled start and stop times. (See ECF No. 18, PageID.144–

145.) But exact “examples, dates, or employer purposes” are not required

at this procedural stage. (Id. at PageID.145.) Moreover, Plaintiffs’

complaint is exceptionally detailed, as set forth above. Therefore, this




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factor strongly supports a finding that Four Star was Plaintiffs’ joint

employer.

            vi.   Integral Part of the Alleged Employer’s Business

      This factor considers how integral the workers were to the alleged

employer’s business. Acosta, 915 F.3d at 1055. “The more integral the

worker’s services are to the business, then the more likely it is that the

parties have an employer-employee relationship.” Id. (quoting Keller, 781

F.3d at 815). In Perez, the district court found that the “[d]efendant

derived 84 percent of his income from pickle farming” and, accordingly,

the “[d]efendant could not reasonably dispute that the workers’ services

during the cucumber harvest were an integral part of his business, nor

does he make such an attempt.” 7 F. Supp. 3d at 726.

      Plaintiffs explain that “Four Star sells young plants and finished

crops throughout the United States to wholesale growers, retail growers,

garden retailers and professional landscapers,” “employs over 100

employees” annually, and “generates over $18 million in annual sales.”

(ECF No. 1, PageID.5, ¶¶ 23–24.) While working at Four Star, Plaintiffs

worked primarily in the shipping department, fulfilling orders from Four

Star’s customers around the country. (Id. at PageID.15, ¶¶ 87–88.)


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Defendants respond that “Plaintiffs worked for a short number of months

performing low-skilled work. They did not make or break the season.”

(ECF No. 30, PageID.369.) While the Complaint does not specify what

portion of Four Star’s business the shipping department supported, with

145 workers authorized under the Four Star Job Order, (see ECF No. 1,

PageID.10, ¶ 61), it is certainly plausible on the face of the Complaint

that they were integral to Four Star’s successful operations during the

seven months covered under the Order. Thus, this factor also supports a

finding that Four Star was Plaintiffs’ joint employer.

           vii.   Balancing the Factors, Plaintiffs Were Employees

      The discussion above makes clear that Four Star was Plaintiffs’

joint employer under the FLSA. “None of these factors is determinative

on its own, and each must be considered ‘with an eye toward the ultimate

question—[the worker’s] economic dependence on or independence from’

the alleged employer.” Acosta, 915 F.3d at 1055 (alteration in original)

(quoting Keller, 781 F.3d at 807). Here, Plaintiffs’ work for Four Star did

not require a high degree of skill, their capital investment was dwarfed

by Four Star’s, and they were paid at a fixed rate without any ability to

increase their compensation through increased skill or efficiency.


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Moreover, Four Star retained and regularly exercised control over almost

every aspect of Plaintiffs’ work. While the permanency of the relationship

does not weigh strongly in either direction, Plaintiffs’ work fulfilling

orders for Four Star’s customers was likely integral to Four Star’s

successful operations. As such, Plaintiffs have sufficiently established

that Four Star was their joint employer under the FLSA.15

             Smith’s Individual Liability

      Individual corporate officers, like Smith, may also be held liable for

violations under the FLSA by a corporation. The Act itself defines

“[e]mployer” as “any person acting directly or indirectly in the interest of



      15  Even if the Court were to adopt one of the other frameworks set forth above,
the outcome would be the same. Under Bonnette, extensive control of the employee’s
work is sufficient to establish a joint employment relationship even if it is not
necessary. Cf. Zheng, 355 F.3d at 71. Similarly, in applying Swallows and Sanford,
“sufficient control over some or all of the formal employees or another business” will
support a finding of a joint employment relationship. Sanford, 449 F. App’x at 491.
Finally, under Int’l Longshoremen, the key question is whether the purported joint
employer “possesses sufficient control over the work of employees.” 927 F.2d at 902.
       The Complaint alleges that Four Star set Plaintiffs’ schedules, assigned and
supervised their daily work, provided all of the tools necessary to perform the
assigned work, gave them employee identification numbers, and required them to
follow Four Star’s timekeeping policies. As set forth above, these allegations establish
that Four Star maintained and exercised extensive control over the workers it
obtained through its relationship with VCH, including Plaintiffs. As such, Plaintiffs
could also establish that Four Star was their joint employer under Bonnette,
Swallows, and Int’l Longshoremen.

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an employer in relation to an employee.” 29 U.S.C. § 203(d). In Dole, the

Sixth Circuit explained that:

      “The overwhelming weight of authority is that a corporate
      officer with operational control of a corporation’s covered
      enterprise is an employer along with the corporation, jointly
      and severally liable under the FLSA for unpaid wages.”
      Donovan v. Agnew, 712 F.2d 1509, 1511 (1st Cir. 1983). In
      Agnew, the court determined that “corporate officers with a
      significant ownership interest who had operational control of
      significant aspects of the corporation’s day to day functions,
      including compensation of employees, and who personally
      made decisions to continue operations despite financial
      adversity during the period of non-payment” were employers
      under the FLSA. Id. at 1514. “No one factor is dispositive;
      rather, it is incumbent upon the courts to transcend
      traditional concepts of the employer-employee relationship
      and assess the economic realities presented by the facts of
      each case.” [Donovan v. Sabine Irrigation Co., 695 F.2d 190,
      195 (5th Cir. 1983)].

Dole, 942 F.2d at 965 (emphasis added); see also Fegley, 19 F.3d at 1131

(applying Dole and holding CEO jointly liable for all damages on

remand). In Cole, the Court of Appeals applied Dole and Fegely and

affirmed the     district court’s determination that the defendant

president—who owned 50% of company, was engaged in running the

business, and had authority to sign checks on corporate accounts—was




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an employer under the FLSA. U.S. Dep’t of Labor v. Cole Enters., Inc., 62

F.3d 775, 778–79 (6th Cir. 1995).

      The facts of this case are similar to those in Dole¸ Fegley, and Cole.

Smith founded Four Star in 1982 and is “the owner, President, Treasurer,

Resident Agent, and a Director of Four Star.” (ECF No. 1, PageID.6,

¶¶ 29–30.) He exercised this authority in executing the contract with

VCH on behalf of Four Star. (Id. at PageID.6, ¶ 31; ECF No. 18-1,

PageID.177.) Smith also “developed Four Star’s electronic labor tracking

software which tracks labor costs along with plant type,” (ECF No. 1,

PageID.7, ¶ 38), which was used to “track[] the type of tasks and plants

[Plaintiffs] were handling throughout the[ir] workday.” (Id. at PageID.6,

¶ 37; see also PageID.14, ¶¶ 94–95.) At this stage of the litigation, these

allegations are sufficient to establish that Smith possessed sufficient

ownership and control over Four Star to qualify as Plaintiffs’ “employer”

under the FLSA.

            Willfulness and the Statute of Limitations

      Violations of the FLSA are ordinarily subject to a two-year statute

of limitations. 29 U.S.C. § 255(a). “However, where a violation is ‘willful’

a three-year statute of limitations applies.” Dole, 942 F.2d at 966 (citing


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McLaughlin v. Richland Shoe Co., 486 U.S. 128, 135 (1988)). Because the

FLSA violations alleged in the Complaint occurred more than two years

(but less than three years) before Plaintiffs commenced this action, their

claims may only proceed if the violations were willful within the meaning

of the FLSA.

      A violation of the FLSA is willful if an employer “either knew or

showed reckless disregard for the matter of whether its conduct was

prohibited by the statute.” Richland Shoe Co., 486 U.S. at 133.

“[A]lthough conditions of a person’s mind may be alleged generally, the

plaintiff still must plead facts about the defendant’s mental state, which,

accepted as true, make the state-of-mind allegation plausible on its face.”

Katoula v. Detroit Entm’t, LLC, 557 F. App’x 496, 498 (6th Cir. 2014)

(internal quotations omitted) (quoting Republic Bank & Trust Co. v. Bear

Stearns & Co., 683 F.3d 239, 247 (6th Cir. 2012)); see also Doucette v.

DIRECTV, Inc., No. 2:14-CV-02800-STA, 2015 WL 2373271, at *5 (W.D.

Tenn. May 18, 2015) (applying Katoula to the plaintiffs’ FLSA claims).

“Courts in the Sixth Circuit have held that, so long as an FLSA

defendant’s alleged scheme is described in some detail, general assertions

of willfulness create a plausible claim.” Dowd¸ 2016 WL 28866, at *5–6


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(collecting cases) (explaining that the plaintiffs’ allegations regarding the

defendants’ policies and practices, combined with their general claim

that the purpose of these policies was to avoid the FLSA, stated a

plausible claim of willfulness).

      The Department of Labor’s regulations explain that “an employer’s

conduct shall be deemed to be in reckless disregard of the requirements

of the Act, among other situations, if the employer should have inquired

further into whether its conduct was in compliance with the Act, and

failed to make adequate further inquiry.” 29 C.F.R. § 578.3(c)(3).

Consistent with this view, courts in this Circuit have held that an

employer acts with reckless disregard of the FLSA’s requirements when

it hears, but does not act upon, complaints that employees were not being

paid the compensation owed to them. See Nance v. Crockett Cnty., Tenn.,

150 F. Supp. 3d 881, 893 (W.D. Tenn. 2015) (citing Bacon v. Eaton

Aeroquip, LLC, No. 11–cv–14103, 2014 WL 5090825, at *9–10 (E.D. Mich.

Oct. 9, 2014)).16



      16  In their reply, Defendants contend that these decisions “are summary
judgment cases and irrelevant at this stage.” (ECF No. 30, PageID. 357 n.6.) However,
Defendants do not address how the alleged conduct in these cases fails to show
reckless disregard for the FLSA’s obligations.

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      As detailed in the Complaint, VCH repeatedly failed to pay

Plaintiffs or paid them with checks that could not be cashed due to

insufficient funds. (See ECF No. 1, PageID.11, ¶¶ 73, 75; PageID.14,

¶¶ 99–100.) Plaintiffs also complained about their unpaid wages to both

VCH and their supervisors at Four Star. (Id. at PageID.16, ¶¶ 113–14.)

Four Star’s failure to address this issue once raised by Plaintiffs

constitutes, at a minimum, reckless disregard for the FLSA’s

requirements. Nance, 150 F. Supp. at 893. Moreover, Four Star’s attempt

to delegate its FLSA obligations to VCH in their 2017 contract, (ECF No.

18-1, PageID.173), supports an inference that Four Star knew that the

workers VCH provided were subject to the Act’s protections.

      Also, because Plaintiffs have sufficiently alleged that Defendants

were their joint employers under the FLSA, Four Star and Smith are

“jointly and severally liable with [VCH] . . . for compliance with all of the

applicable provisions of the Act.” 29 C.F.R. § 791.2 (effective March 16,

2020);17 see also Reed v. Friendly’s Ice Cream, LLC, No. 15-CV-0298, 2016



      17 This outcome is no different even if the prior regulations remain operative.
29 C.F.R. § 791.2 (effective though March 15, 2020) (“[A]ll joint employers are
responsible, both individually and jointly, for compliance with all of the applicable
provisions of the [FLSA].”).

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WL 2736049, at *6 (M.D. Pa. May 11, 2016). Defendants’ are therefore

liable for VCH’s willful violations of the FLSA.

      Accordingly, Plaintiffs claims are not barred by the two-year

statute of limitations.

      B. Retaliation in Violation of the FLSA

      The 2017 Plaintiffs next allege that Defendants are liable for

retaliation in violation of the FLSA. For the following reasons, the Court

finds that Plaintiffs plausibly state a claim for retaliation.

      “The anti-retaliation provision of FLSA provides that an employer

is prohibited from ‘discharg[ing] or in any other manner discriminat[ing]

against [an] employee because such employee has filed [a] complaint or

instituted . . . any proceeding under [the FLSA].’” Adair v. Charter Cnty.

of Wayne, 452 F.3d 482, 489 (6th Cir. 2006) (alterations in original)

(quoting 29 U.S.C. § 215(a)(3)). While the McDonnell Douglas burden-

shifting framework applies to retaliation claims under the FLSA, id., at

the pleading stage, a plaintiff need only allege sufficient facts to support

a reasonable inference of unlawful retaliation. See Keys v. Humana, Inc.,

684 F.3d 605, 609–10 (6th Cir. 2012).




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      Employees need not file formal charges to trigger the FLSA’s anti-

retaliation protections. See E.E.O.C. v. Romeo Cmty. Sch., 976 F.2d 985,

989–90 (6th Cir. 1992). Instead, the Act’s anti-retaliation provisions may

be triggered when an employee merely complains directly to an employer.

Id. These complaints may be written or oral. Kasten v. Saint-Gobain

Performance Plastics Corp., 563 U.S. 1, 14 (2011). Regardless of how the

employee chooses to complain, the complaint must be “sufficiently clear

and detailed for a reasonable employer to understand it . . . as an

assertion of rights protected by the statute and a call for their protection.”

Id.

      Here, the 2017 Plaintiffs complained orally about unpaid wages to

both VCH and supervisors at Four Star. (Id. at PageID.16, ¶¶ 113–14.)

Soon after, Mateo-Velazquez was told that VCH “knew someone was

complaining to Four Star” about their pay, (id. at ¶ 111), and that if VCH

found out that he had complained to Four Star, “he would be sent back to

Mexico and blacklisted from the H-2A program.” (Id. at ¶ 112.)

Approximately one week later, VCH’s Francisco Vasquez followed

through on that threat and orchestrated the 2017 Plaintiffs arrest by

immigration authorities. (Id. at PageID.16–17, ¶¶ 116–21.) The 2017


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Plaintiffs were jailed and then “forced to depart from the United States”

after being placed in removal proceedings. (See id. at PageID.17, ¶ 123.)

      Defendants assert that Plaintiffs “fail to plausibly allege that

Defendants could or did retaliate against them because their retaliation

claims are based entirely on [VCH]’s actions, rather than Defendants’

actions.” (ECF No. 18, PageID.136.) However, because Plaintiffs have

sufficiently alleged that Defendants were their joint employers under the

FLSA, they are “jointly and severally liable with [VCH] . . . for

compliance with all of the applicable provisions of the Act.” 29 C.F.R.

§ 791.2 (effective March 16, 2020). That the alleged retaliation was

carried out by VCH and not Defendants is therefore no defense.

      Accordingly, the 2017 Plaintiffs have plausibly alleged a FLSA

retaliation claim against Defendants.

      C. Violations of the AWPA

      The 2017 Plaintiffs next allege that Defendants also violated

various provisions of the AWPA,18 including failing to provide them with



      18 The 2017 Plaintiffs invoke the AWPA’s protections for migrant agricultural
workers. 29 U.S.C. §§ 1821–1822. Under the AWPA, a “migrant agricultural worker”
is “an individual who is employed in agricultural employment of a seasonal or other
temporary nature, and who is required to be absent overnight from his permanent
place of residence.” 29 U.S.C. § 1802(8)(A). However, the statute explicitly excludes
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paystubs, failing to pay them their wages when due, “violat[ing] the

terms of the working arrangement without justification,” and knowingly

providing them false or misleading information.19 (ECF No. 1,

PageID.23–24, ¶¶ 161–66.) Defendants object that they were not

“Plaintiffs’ employer, recruiter, or [otherwise] responsible for causing

their visas to not be extended or providing allegedly inaccurate visa

information.” (ECF No. 18, PageID.126.) For the following reasons, the

Court finds that Plaintiffs plausibly state a claim.

      As the amicus explains, “Congress adopted [the] AWPA out of

frustration with prior efforts to regulate the abuses of agricultural labor

contractors.” (ECF No. 25-1, PageID.261 (citing H.R. No. 885, 97th Cong.,

2d Sess. at 2–3(1982)).) To this end, the AWPA explicitly imports the



“any temporary nonimmigrant alien who is authorized to work in agricultural
employment” on a H-2A visa from the definition of “migrant agricultural worker.” Id.
at § 1802(8)(B). Here, the 2017 Plaintiffs allege that when they arrived in Michigan
and began working for Four Star their H-2A visas were already expired. (See ECF
No. 1, PageID.12, ¶ 78.)

      19  The Complaint also alleges that Defendants violated 29 U.S.C. § 1821(a) by
failing to provide the 2017 Plaintiffs with required written disclosures of the terms
and conditions of employment. (ECF No. 1, PageID.23, ¶ 160.) Defendants assert in
their opening brief that only “recruiters” are subject to claims under § 1821(a). (ECF
No. 18, PageID.164–165.) Plaintiffs withdraw this particular claim in their response
to Defendants’ motion. (ECF No. 27, PageID.318 n.13.)

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expansive definition of “employ” from the FLSA. 29 U.S.C. § 1802(5); see

also 29 C.F.R. § 500.20(h)(1). In assessing whether a joint employment

relationship exists under the AWPA, “the ultimate question to be

determined is the economic reality—whether the worker is so

economically dependent upon the agricultural employer/association as to

be considered its employee.” 29 C.F.R. § 500.20(h)(5)(iii); see also Torres-

Lopez, 111 F.3d at 641 (“The issue is not whether a farmworker is more

dependent upon the farm labor contractor or the grower. Rather, the

inquiry must focus on the economic reality of the particular relationship

between the farmworker and the alleged joint employer.”) Moreover, the

Department of Labor’s regulations provide that “[j]oint employment

under the Fair Labor Standards Act is joint employment under the

[AWPA].” Id. at § 500.20(h)(5)(i). The Department also provides a non-

exhaustive list of factors for evaluating joint employment relationships:

      (A) Whether the agricultural employer[] has the power, either
      alone or through control of the farm labor contractor to direct,
      control, or supervise the worker(s) or the work performed . . . ;
      (B) Whether the agricultural employer[] has the power, either
      alone or in addition to another employer, directly or indirectly,
      to hire or fire, modify the employment conditions, or
      determine the pay rates or the methods of wage payment for
      the worker(s);

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      (C) The degree of permanency and duration of the relationship
      of the parties, in the context of the agricultural activity at
      issue;
      (D) The extent to which the services rendered by the worker(s)
      are repetitive, rote tasks requiring skills which are acquired
      with relatively little training;
      (E) Whether the activities performed by the worker(s) are an
      integral part of the overall business operation of the
      agricultural employer/association;
      (F) Whether the work is performed on the agricultural
      employer[]’s premises, rather than on premises owned or
      controlled by another business entity; and
      (G) Whether the agricultural employer[] undertakes
      responsibilities in relation to the worker(s) which are
      commonly performed by employers, such as preparing and/or
      making payroll records, preparing and/or issuing pay checks,
      paying FICA taxes, providing workers’ compensation
      insurance, providing field sanitation facilities, housing or
      transportation, or providing tools and equipment or materials
      required for the job (taking into account the amount of the
      investment).

Id. at § 500.20(h)(5)(iv).20 Courts have also considered “non-regulatory

factors” when evaluating the economic reality of a purported employment

relationship. Torres-Lopez, 111 F.3d at 640–41.



      20“The term ‘agricultural employer’ means any person who owns or operates a
farm, ranch, processing establishment, cannery, gin, packing shed or nursery, or who
produces or conditions seed, and who either recruits, solicits, hires, employs,
furnishes, or transports any migrant or seasonal agricultural worker.” 29 U.S.C.
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      Because Four Star and Smith were Plaintiffs’ joint employers under

the FLSA, this analysis is not difficult. Four Star’s employees supervised

and exercised extensive control over the 2017 Plaintiffs’ work while they

were at Four Star. (See ECF No. 1, PageID.13–14, ¶¶ 85–95.) Four Star

also “had the authority, and exercised the authority, to direct their

recruiting agent VCH to select particular workers, including Plaintiffs,

to remain employed at Four Star.” (Id. at PageID.14, ¶ 96.) The 2017

Plaintiffs performed repetitive tasks that required limited skill or

training, (id. at PageID.13, ¶ 88), Four Star provided all of the necessary

tools and equipment, (id. at ¶ 89), and all of the 2017 Plaintiffs’ work was

done at Four Star’s facilities. (Id. at ¶ 86.) Taken together, these factors

make clear that the 2017 Plaintiffs were “so economically dependent

upon [Four Star] as to be considered its employee[s].” 29 C.F.R.

§ 500.20(h)(5)(iii).




§ 1802(2); 29 C.F.R. § 500.20(d). “The term ‘farm labor contractor’ means any person,
other than an agricultural employer, an agricultural association, or an employee of
an agricultural employer or agricultural association, who, for any money or other
valuable consideration paid or promised to be paid, performs any farm labor
contracting activity.” 29 U.S.C. § 1802(7); 29 C.F.R. § 500.20(j).




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      Plaintiffs have sufficiently alleged that Four Star was its joint

employer under the AWPA and may therefore be held liable for VCH’s

violations of the Act. Because Smith exercised sufficient control over Four

Star to be individually liable as an employer under the FLSA, he is also

individually liable under the AWPA. Cf. Dole, 942 F.2d at 965;

§ 500.20(h)(1) (“The term employer . . . includes any person acting

directly or indirectly in the interest of an employer in relation to an

employee.”).

      D. Retaliation in Violation of the AWPA

      The 2017 Plaintiffs also allege that Defendants are liable for VCH’s

retaliation against them under the AWPA’s anti-retaliation provisions.

The Court agrees.

      The relevant portion of the statute provides that individuals may

not “threaten, restrain, coerce, blacklist, discharge, or in any manner

discriminate against any migrant []agricultural worker because such

worker has, with just cause, filed any complaint . . . under or related to

this chapter.” 29 U.S.C. § 1855(a). The same conduct that plausibly

supports the 2017 Plaintiffs’ FLSA retaliation claim is equally applicable

here. (See ECF No. 1, PageID.16–17, ¶¶ 111–23.) Moreover, Plaintiffs’


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allegations that VCH repeatedly threatened to blacklist, and in fact did

blacklist some Plaintiffs from the H-2A program, further supports this

claim. (See id. at PageID.12, ¶ 77; PageID.16, ¶ 112; PageID.18, ¶ 125.)

As with the 2017 Plaintiffs’ other AWPA claims, both Four Star and

Smith may be held liable for VCH’s conduct as joint employers.

      Accordingly, Plaintiffs plausibly allege a claim for retaliation under

the AWPA.

      E. Violations of the TVPRA

      The 2017 Plaintiffs next assert two claims under the TVPRA

against both Defendants. For the following reasons, the Court finds that

Plaintiffs fail to state a claim.

      The TVPRA makes it a criminal offense to obtain labor through

force, to knowingly benefit from a venture engaged in forced labor, and

to knowingly recruit or obtain forced labor. 18 U.S.C. §§ 1589, 1590. An

individual who is a victim of a violation of §1589 or §1590 may bring a

civil action against a beneficiary of the violation who (1) knowingly

benefited or received anything of value, (2) through participation in a

venture, (3) “which [the beneficiary] knew or should have known has

engaged in an act in violation of [§1589 or §1590].” 18 U.S.C. § 1595(a);


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see also H.G. v. Inter-Cont’l Hotels Corp., No. 19-CV-13622, 2020 WL

5653304, at *4 (E.D. Mich. Sept. 23, 2020).“The first element merely

requires that [the d]efendant knowingly receive a financial benefit.” H.H.

v. G6 Hosp., LLC, No. 2:19-CV-755, 2019 WL 6682152, at *2 (S.D. Ohio

Dec. 6, 2019).“[T]he relevant state-of-mind inquiry for purposes of the

third element focuses on whether the defendant knew or should have

known of [the violations] by the venture in which he allegedly

participated.” H.G.¸ 2020 WL 5653304, at *5. A determination that the

defendant acted negligently or in reckless disregard may support a

finding that the beneficiary “should have known” of the violations. Cf.

M.A. v. Wyndham Hotels & Resorts, Inc., 425 F. Supp. 3d 959, 968–69

(S.D. Ohio 2019). Nevertheless, “knowledge or willful blindness of a

general [] trafficking problem in [an industry] does not satisfy the mens

rea requirements of the TVPRA.” S.J. v. Choice Hotels Int’l, Inc., No. 19-

CV-6071 (BMC), 2020 WL 4059569, at *5 (E.D.N.Y. July 20, 2020).

      The Complaint alleges that Defendants received a financial benefit

from the 2017 Plaintiffs’ work, which Defendants closely controlled and

supervised. (See ECF No. 1, PageID.13–14, ¶¶ 85–96.) It also plausibly

asserts that Defendants engaged in a venture with VCH as evidenced by


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the contract between Four Star and VCH, which was signed by Smith.

(See ECF No. 18-1; see also ECF No. 1, PageID.6, ¶¶ 31–32; PageID.9–

10, ¶¶ 57–62.) As such, Plaintiffs must sufficiently allege that

Defendants knew or should have known of VCH’s violations of the

TVPRA.

            Forced Labor Violations

      Plaintiffs first seek to recover for violations of the TVPRA’s forced

labor provisions. The relevant portion of the statute states:

      (a) Whoever knowingly provides or obtains the labor or
      services of a person by any one of, or by any combination of,
      the following means--
            ...
            (2) by means of serious harm or threats of serious harm
            to that person or another person;
            (3) by means of the abuse or threatened abuse of law or
            legal process; or
            (4) by means of any scheme, plan, or pattern intended to
            cause the person to believe that, if that person did not
            perform such labor or services, that person or another
            person would suffer serious harm or physical restraint,
      shall be punished as provided under subsection (d).
      (b) Whoever knowingly benefits, financially or by receiving
      anything of value, from participation in a venture which has
      engaged in the providing or obtaining of labor or services by
      any of the means described in subsection (a), knowing or in

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      reckless disregard of the fact that the venture has engaged in
      the providing or obtaining of labor or services by any of such
      means, shall be punished as provided in subsection (d).

18 U.S.C. § 1589.

      VCH’s frequent efforts to move the 2017 Plaintiffs from state to

state, repeated failure to pay them on time or at all, threats to blacklist

them from the H-2A program, and threats to send them back to Mexico,

suggest multiple violations of the TVPRA by VCH. (See ECF No. 1,

PageID.11–12, ¶¶72–79; PageID.14 ¶ 100; PageID.16, ¶ 112.) However,

as set forth below, the Complaint fails to provide factual support for

Plaintiffs’ conclusory assertions that Defendants “knew or should have

known” of these abuses by VCH.21 (See id. at PageID.15, ¶¶ 104–07;

PageID.26–27, ¶¶182–84.)

            a. Serious Harm or Threats of Serious Harm

      Plaintiffs first allege that

      Defendants knew or should have known that VCH provided
      or obtained labor from the 2017 Plaintiffs by threatening the
      2017 Plaintiffs with blacklisting that would bar future
      economic opportunities, by refusing to reimburse travel and

      21 As set forth above, “although conditions of a person’s mind may be alleged
generally, the plaintiff still must plead facts about the defendant’s mental state,
which, accepted as true, make the state-of-mind allegation plausible on its face.”
Katoula, 557 F. App’x at 498 (quoting Republic Bank & Trust., 683 F.3dat 247).

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      visa costs that the 2017 Plaintiffs had paid with high-interest
      loans, and by refusing to pay the 2017 Plaintiffs even
      subsistence-level wages in a manner that caused serious
      harm under 18 U.S.C. § 1589(a)(2).

(ECF No. 1, PageID.26, ¶ 183 (emphasis added).) As used in § 1589,

“serious harm” is defined as “any harm,” including financial harm, “that

is sufficiently serious . . . to compel a reasonable person . . . to perform or

to continue performing labor or services in order to avoid incurring that

harm.” 18 U.S.C. § 1589(c)(2). In other words, the harm or threat of harm

must be one that compels the victim to remain when they otherwise

would have left. See Muchira v. Al-Rawaf, 850 F.3d 605, 618 (4th Cir.

2017) (quoting United States v. Dann, 652 F.3d 1160, 1170 (9th Cir.

2011)).

      While the Complaint details several threats of blacklisting made by

VCH, Plaintiffs do not allege that they notified Defendants of these

threats or that any of Defendants’ employees overheard or were

otherwise informed of them. Similarly, there are no allegations in the

Complaint that Defendants were ever made aware of VCH’s failure to

reimburse the 2017 Plaintiffs’ travel and visa costs prior to their arrival

in Michigan.


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      Instead, Plaintiffs allege that “Santiago-Hernandez complained to

two of his Four Star supervisors about his unpaid wages” one week prior

to his arrest by immigration authorities.22 (Id. at PageID.16, ¶ 113.)

While this may put Defendants on notice of VCH’s labor law violations,

it does not support an inference that Defendants knew or should have

known that the 2017 Plaintiffs were being coerced into remaining in

VCH’s employ. The Complaint alleges that VCH threatened to continue

withholding all of the 2017 Plaintiffs unpaid wages if they did not work

for Defendants in Michigan, (see ECF No. 1, PageID.11, ¶ 75), but again,

Plaintiffs fail to allege how Defendants knew or should have known of

this coercion.

      In their response, Plaintiffs assert that “Defendants knew or

recklessly disregarded that the hourly rate paid to VCH per the terms of

their contract was insufficient to cover VCH’s myriad costs under the H-

2A program . . . short of not paying workers.” (ECF No. 27, PageID.314.)



      22  Citing to the contract between Four Star and VCH, Plaintiffs assert in their
response that “VCH was required to provide Defendants with weekly time and payroll
records, which put Defendant[s] on actual notice of VCH’s failure to pay Plaintiffs.”
(ECF No. 27, PageID.314.) However, the Complaint does not actually allege that VCH
failed to provide these required records or, assuming the records were provided, that
those records demonstrated that the Plaintiffs were not being paid.

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In support of this argument, they point to a U.S. Department of

Agriculture webpage that details the estimated costs of employing

workers under the H-2A program. (Id. at PageID.314, 317; see also ECF

No. 27-4.) However, these allegations are not included in the Complaint

and therefore are not properly before the Court. Even if they were, it is

unclear how this low reimbursement rate, standing alone, put

Defendants on notice that VCH would engage in coercive conduct towards

its workers that would constitute serious harm or threats of serious harm

under the TVPRA.

      As such, Plaintiffs fail to allege that Defendants knew or should

have known that their labor was obtained through serious harm or

threats of serious harm.

            b. Abuse or Threatened Abuse of Legal Process

      Next, Plaintiffs contend that

      Defendants knew or should have known that VCH provided
      or obtained labor from the 2017 Plaintiffs by threatening the
      2017 Plaintiffs with blacklisting that would bar future
      immigration opportunities, and by deceiving the 2017
      Plaintiffs about the terms of their immigration status in a
      manner that constituted an abuse of the legal process under
      18 U.S.C. § 1589(a)(3).



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(ECF No. 1, PageID.26, ¶ 183 (emphasis added).) As used in § 1589,

“abuse or threatened abuse of law or legal process” is defined as “the use

or threatened use of a law or legal process, whether administrative, civil,

or criminal, in any manner or for any purpose for which the law was not

designed, in order to exert pressure on another person to cause that

person to take some action or refrain from taking some action.” 18 U.S.C.

§ 1589(c)(1). Consistent with this definition, threats to withdraw

sponsorship of a visa, warning of immigration consequences, and threats

to initiate criminal proceedings have all been held sufficient to support a

claim of forced labor. See Adia v. Grandeur Mgmt., Inc., 933 F.3d 89, 93

(2d Cir. 2019); United States v. Calimlim, 538 F.3d 706, 713 (7th Cir.

2008); Barrientos v. CoreCivic, Inc., 332 F. Supp. 3d 1305, 1311–12 (M.D.

Ga. 2018), aff’d, 951 F.3d 1269 (11th Cir. 2020). However, as set forth

above, Plaintiffs do not plead any facts that demonstrate how Defendants

“knew or should have known” that VCH had threatened the 2017

Plaintiffs with blacklisting from the H-2A program. Similarly, the

Complaint does not support an inference that Defendants were aware

that VCH lied to the 2017 Plaintiffs about their immigration status,

threatened to send them back to Mexico, or coordinated with immigration


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authorities to have them arrested and placed in removal proceedings. As

such, Plaintiffs fail to allege that Defendants knew or should have known

that their labor was obtained through abuse or threats of abuse of legal

process.

            c. Scheme, Plan, or Pattern

      Finally, Plaintiffs assert that

      Defendants knew or should have known that VCH provided
      or obtained labor from the 2017 Plaintiffs by a scheme, plan,
      or pattern designed to isolate and exacerbate the 2017
      Plaintiffs’ existing vulnerabilities, which . . . was intended to
      cause and did cause the 2017 Plaintiffs to believe that they
      would suffer serious harm if they were to leave the employ of
      Defendants, in violation of 18 U.S.C. § 1589(a)(4).

(ECF No. 1, PageID.26–27, ¶ 184 (emphasis added).) Though Plaintiffs

allege that VCH was fined by the U.S. Department of Transportation and

disciplined by Florida’s Department of Business and Professional

Regulation, (id. at PageID.9, ¶¶ 53–54), there is no suggestion that these

incidents involved criminal trafficking violations or related coercive

practices.23 As with the claims above, the Complaint contains no other




      23 In their response, Plaintiffs assert that VCH “was subject to multiple
government investigations involving allegations that VCH confiscated workers’
passports and stole their wages.” (ECF No. 27. PageID.313–314.) However, these
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allegations that allow the Court to infer that Defendants knew or should

have known of a scheme, plan, or pattern by VCH to coerce the 2017

Plaintiffs’ labor.

      Accordingly, the 2017 Plaintiffs’ claims under § 1589 are dismissed.

             Trafficking for Forced Labor

      Plaintiffs next seek to recover for violations of the TVPRA’s

trafficking provision. Under 18 U.S.C. § 1590(a), “[w]hoever knowingly

recruits, harbors, transports, provides, or obtains by any means, any

person for labor or services in violation of this chapter shall be fined

under this title or imprisoned not more than 20 years, or both.” 18 U.S.C.

§ 1590(a). However, because a violation of this section relies on a

corresponding violation of the TVPRA, see Adia, 933 F.3d at 94, Plaintiffs

similarly cannot establish that Defendants knew or should have known

of trafficking by VCH.

      Accordingly, the 2017 Plaintiffs’ claims under § 1590 are also

dismissed.

      F. Failure to Pay Minimum Wages Under Michigan Law



allegations are not included in the Complaint and therefore cannot be considered for
the purposes of evaluating Defendants’ motion to dismiss.

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      Next, Plaintiffs (including Ponciano-Serna) allege that Defendants

are also liable for violations of Michigan’s minimum wage laws.

      Enacted in 2014 and replacing Michigan’s Minimum Wage Law of

1964,24 WOWA prohibits employers from paying employees a rate less

than the rate proscribed in the Act and provides a private right of action

for employees who were paid less than the prevailing wage.25 MCL

§§ 408.413, 408.419. Consistent with the FLSA and the AWPA, WOWA

defines “employ” broadly as “engage, suffer, or permit to work.” MCL

§ 408.412(b). “Employer” is also similarly defined as “a person, firm, or

corporation . . . and a person acting in the interest of the employer, who

employs 2 or more employees at any 1 time within a calendar year.” MCL

§ 408.412(d).

      While WOWA does not define “joint employment” or “joint

employer,” Plaintiffs argue that “Michigan Courts have long applied an

economic reality test in assessing employer status for purposes of


      24See 2014 Mich. Pub. Acts 138, effective, May 27, 2014. WOWA was
subsequently replaced by the Improved Workforce Opportunity Wage Act (IWOWA),
2018 Mich. Pub. Acts 337, effective, Mar. 29, 2019.

      25The minimum hourly wage rate beginning January 1, 2017 was $8.50 an
hour and increased to $9.25 an hour beginning January 1, 2018. MCL § 408.414(c)–
(d).

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remedial social legislation.”26 (ECF No. 27, PageID.300.) “Where the

Michigan Supreme Court has not addressed the issue presented, [the

Court] must predict how the [Michigan Supreme Court] would rule by

looking to all the available data; however, decisions by the Michigan

Court of Appeals are binding authority where the Michigan Supreme

Court has never addressed the issue decided therein.” Berrington v. Wal-

Mart Stores, Inc., 696 F.3d 604, 607–08 (6th Cir. 2012) (citations and

internal quotation marks omitted). Plaintiffs cite two cases, Tata v.

Benjamin Muskovitz Plumbing & Heating, 354 Mich. 695, 698–99 (1959),

and Goodchild v. Erickson, 375 Mich. 289, 293–94 (1965), in which the

Michigan Supreme Court applied the economic reality test to assess

employment relationships under Michigan’s workers’ compensation law.

More recently, the court explained that “[t]he economic-reality test was




      26  Defendants fail to substantively engage with Plaintiffs’ claims under
WOWA. Without citing to any authority other than the statute, they assert in their
opening brief that “Defendants are not plausibly alleged to be Plaintiffs’ ‘employer’
under [WOWA].” (ECF No. 18, PageID.167.) In their reply, Defendants argue that
“[t]he cases Plaintiffs cite for their WOWA claim (Count VI) do not match the
propositions for which Plaintiffs offer them.” (ECF No. 30, PageID.370 n.14.)
However, Defendants do not offer any other alternative analysis of these cases; nor
do they cite to any other authority on which the Court might rely in analyzing this
claim.

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embraced . . . as a more realistic attempt to define the employer-employee

relationship through a ‘balancing of all the relevant factors in each case,’

than the rigid control test.” Kidder v. Miller-Davis Co., 455 Mich. 25, 35

(1997). Applying the economic reality test to a claim under Michigan’s

Whistleblowers’ Protection Act, the Michigan Court of Appeals explained

that “[t]he ‘control test’ has been limited to those situations where

respondeat superior has been alleged and the vicarious liability of a

master is involved.” Chilingirian v. Fraser, 194 Mich. App. 65, 69 (1992)

(citations omitted); see also Mantei v. Mich. Pub. Sch. Emples. Ret. Sys.,

256 Mich. App. 64, 78–79 (2003) (applying the economic reality test to a

claim under Michigan’s Public School Employees Retirement Act of

1979).

      Plaintiffs do not point to—and the Court cannot locate—any cases

in which Michigan courts have applied the economic reality test to

Michigan’s current or former minimum wage laws. However, based upon

related caselaw set forth above, the Court will apply this test to Plaintiffs’

WOWA claim.27 Under Michigan law, the economic reality test considers




      27 Plaintiffs also assert that “[o]ther courts in this District have also found
analysis of an employment relationship under the FLSA to be determinative of
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“(1) [the] control of a worker’s duties, (2) the payment of wages, (3) the

right to hire and fire and the right to discipline, and (4) the performance

of the duties as an integral part of the employer’s business towards the

accomplishment of a common goal,” though no one factor is controlling.

Clark v. United Techs. Auto., Inc., 459 Mich. 681, 688 (1999) (alteration

in original) (quoting Askew v. Macomber, 398 Mich. 212, 217–18 (1976)).

As set forth above, the allegations in the Complaint establish that Four

Star exerted extensive control over Plaintiffs’ work, retained the right to

hire, fire, and discipline Plaintiffs, and relied on Plaintiffs’ work in order

to sustain their business. Thus, the Court can reasonably conclude that

Four Star could be considered Plaintiffs’ joint employer under Michigan’s

economic reality test. As with the FLSA and AWPA, Smith may also

reasonably be considered Plaintiffs’ joint employer as “a person acting in

the interest of the employer.” MCL § 408.412(d).

      Accordingly, Plaintiffs may proceed on their WOWA claims.

      G. Breach of Contract Under Michigan Law




employment under WOWA.” (ECF No. 27, PageID.300 (citing Sims v. Parke Davis &
Co., 334 F. Supp. 774, 789 (E.D. Mich. 1971).)

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      Plaintiffs’ next claim is for breach of contract by all Plaintiffs

against Four Star. For the reasons below, the Court cannot find an

express claim for breach of contract under Michigan law. However, the

Court ORDERS supplementary briefing regarding whether the Job

Order, or any other understanding between the parties, constitutes an

implied contract between Plaintiffs and Four Star on the face of the

Complaint.

      Under Michigan law, “[a] party asserting a breach of contract must

establish . . . that (1) there was a contract (2) which the other party

breached (3) thereby resulting in damages to the party claiming breach.”

Miller-Davis Co. v. Ahrens Const., Inc., 495 Mich. 161, 178 (2014). “The

elements of a valid contract in Michigan are: 1) parties competent to

contract, 2) a proper subject matter, 3) a legal consideration, 4) mutuality

of agreement, and 5) mutuality of obligation.” In re Brown, 342 F.3d 620,

628 (6th Cir. 2003) (citing Thomas v. Leja, 187 Mich. App. 418, 422

(1990)).

      Contracts may be either express or implied. In this case, Plaintiffs

presumably allege an express contract between the parties, because they

state that they “entered into an employment contract with Four Star to


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work for Four Star in Michigan during the 2018 season under the H-2A

program,” and that the “Four Star Job Order contains the terms and

conditions of the employment contract.” (ECF No. 1, PageID.28, ¶¶ 198–

99.) However, Four Star is not a party to the Order, which was instead

obtained by VCH. (See ECF No. 37-1; see also ECF No. 1, PageID.10,

¶ 61.)28 Thus, under Michigan law, the relevant questions are 1) whether

non-signatories to an employment contract may nevertheless be held

liable for breach of contract as joint employers; and 2) whether Four Star

is a joint employer within the meaning of Michigan contract law.

      Plaintiffs argue that, “[u]nder the H-2A regulations and existing

case law, clearance orders such as the []Four Star Job Order constitute

employment contracts that are enforceable under state law.” (ECF No.

27, PageID.301.) Relying on an Eleventh Circuit case, Plaintiffs assert




      28  Further complicating Plaintiffs’ claim, only Ponciano-Serna was actually
working under the Four Star Job Order, while the 2017 Plaintiffs were performing
“corresponding employment.” (ECF No. 1, PageID.28, ¶¶ 200–01.) The regulations
define “corresponding employment” as “[t]he employment of workers who are not H–
2A workers by an employer who has an approved H–2A Application for Temporary
Employment Certification in any work included in the job order, or in any agricultural
work performed by the H–2A workers. To qualify as corresponding employment the
work must be performed during the validity period of the job order, including any
approved extension thereof.” 20 C.F.R. § 655.103(b).

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that Four Star may be held liable for a breach of this H-2A work contract

if Four Star qualifies as Plaintiffs’ employer or joint employer under the

Immigration and Nationality Act (INA) and current H-2A regulations.

(ECF No. 27, PageID.302 (citing Garcia-Celestino v. Ruiz Harvesting, Inc.

(Garcia-Celestino I), 843 F.3d 1276, 1284–86 (11th Cir. 2016) (remanding

the case “to the district court to decide in the first instance whether,

under the common law principles of agency, [a company] qualifies as a

joint employer for purposes of the plaintiffs’ breach of contract claims”)).)

      However, even if Four Star were to qualify as a joint employer

under federal or Michigan common law—as opposed to statutory labor

law, as previously addressed—it is not clear under Michigan law that a

joint employer may be held responsible for breach of a contract that it did

not sign. Specifically, it is not clear from the cases reviewed by the Court

that the rationale undergirding FLSA joint employer liability—the need

to protect workers’ rights by upholding objective labor standards—ports

into Michigan contract law. The Court could find no such cases, and

Plaintiffs did not proffer them. Accordingly, the Court cannot find an

express contract on the face of the Complaint.




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      However, neither party adequately addresses whether the Job

Order, or any other understanding between the parties, constitutes an

implied contract. Under Michigan law, “[a]n implied contract, like other

contracts, requires mutual assent and consideration.” Wrench LLC v.

Taco Bell Corp., 256 F.3d 446, 456 (6th Cir. 2001) (alteration in original)

(quoting Spruytte v. Dep’t of Corr., 82 Mich. App. 145, 147 (1978)). “There

are two kinds of implied contracts: one implied in fact and the other

implied in law. The first does not exist, unless the minds of the parties

meet, by reason of words or conduct. The second is quasi or constructive,

and does not require a meeting of minds, but is imposed by fiction of law,

to enable justice to be accomplished, even in case no contract was

intended.” Contship Containerlines, Inc. v. Howard Indus., Inc., 309 F.3d

910, 914 (6th Cir. 2002) (quoting Murray Hill Publ’ns., Inc. v. ABC

Commc’ns, Inc., 264 F.3d 622, 637 (6th Cir. 2001)).

      Accordingly, the Court ORDERS that that Plaintiffs provide

supplementary briefing to the Court on this question by two weeks from

the date of this Order. Defendants may respond within two weeks of

Plaintiffs’ supplementary brief.

      H. Unjust Enrichment Under Michigan Law


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      Plaintiffs’ final claim is for unjust enrichment by all Plaintiffs

against both Defendants. For the reasons below, the Court finds that

Plaintiffs fail to state a claim.

      Under Michigan law, unjust enrichment requires the plaintiff to

establish: “(1) the receipt of a benefit by the other party from the

complaining party and (2) an inequity resulting to the complaining party

because of the retention of the benefit by the other party.” Karaus v. Bank

of New York Mellon, 300 Mich. App. 9, 22–23 (2012). “Whether a specific

party has been unjustly enriched is generally a question of fact,” but

“whether a claim for unjust enrichment can be maintained is a question

of law.” Morris Pumps v. Centerline Piping, Inc., 273 Mich. App. 187, 193

(2006). “[T]he key to determining whether enrichment is unjust is

determining whether a party unjustly received and retained an

independent benefit.” Landstar Express Am., Inc. v. Nexteer Auto. Corp.,

319 Mich. App. 192, 205 (2017) (alteration in original) (quoting Kraus,

300 Mich. App. at 23). “Moreover, where a third person benefits from a

contract entered into between two other persons, in the absence of some

misleading act by the third person, the mere failure of performance by

one of the contracting parties does not give rise to a right of restitution


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against the third person.” Id. (emphasis added) (quoting Morris Pumps,

273 Mich. App. at 196). If the plaintiff meets their burden, “the law will

imply a contract in order to prevent unjust enrichment.”29 Belle Isle Grill

Corp. v. City of Detroit, 256 Mich. App. 463, 478 (2003) (citing Martin v.

East Lansing School Dist., 193 Mich. App. 166, 177 (1992)).

      The Complaint alleges that Defendants were “unjustly enriched by

their practice of failing to pay Plaintiffs for all hours worked and for

failing to reimburse Plaintiffs some or all of [Plaintiffs’] inbound and

outbound transportation costs.” (ECF No. 1, PageID.30, ¶ 205.) They also

assert that “Defendants accepted the benefits of Plaintiffs’ labor under

circumstances such that it would be inequitable[,] and Defendants would


      29 While “a contract will be implied only if there is no express contract covering
the same subject matter,” Morris Pumps, 273 Mich. App. at 193–95 (quoting Belle Isle
Grill, 256 Mich. App. 478), the existence of an express agreement is not necessarily
dispositive of an unjust enrichment claim at the motion to dismiss stage, see XXX Int’l
Amusements, Inc. v. Se. Visuals, LLC, No. 17-11778, 2017 WL 3877177, at *2 (E.D.
Mich. Sept. 5, 2017). “Federal Rule of Civil Procedure 8(a)(3) permits pleadings in the
alternative ‘when, for instance, there is a dispute between the parties as to whether
an express agreement exists.’” Id. (quoting Bowlers’ Alley, Inc. v. Cincinnati Ins. Co.,
32 F.Supp.3d 824, 833–34 (E.D. Mich. 2014)). If the defendant may continue to
dispute the existence of the contract in subsequent proceedings, it is premature to
dismiss a plaintiff’s unjust enrichment claim based on the existence of that
agreement. Id. (citing Terry Barr Sales Agency, Inc. v. All–Lock Co., Inc., 96 F.3d 174,
182 (6th Cir. 1996)).




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be unjustly enriched if they are permitted to retain the benefit of such

labor without payment to Plaintiffs.” (Id. at ¶ 207.)

      Without explanation, Defendants assert that “[t]hey did not receive

a benefit from Plaintiffs.” (ECF No. 18, PageID.169 (emphasis omitted).)

They also argue that they paid Vasquez “in full . . . for every hour

Plaintiffs worked” and that “[i]t would in fact be unjust to require

Defendants to pay twice and take away from them the benefit of their

contract with Vasquez.” (Id. at PageID.169–170.) Plaintiffs respond that

“Defendants directly benefited from their labor” because they worked

“under Defendants’ direction, at Defendants’ facilities, furthering

Defendants’ nursery business.” (ECF No. 27, PageID.316.) They then

assert that “[r]egardless of whether Defendants paid VCH as required

under the 2017 Contract, Plaintiffs allege that Defendants unfairly

profited from this arrangement because their payments to VCH were

insufficient to cover the full cost of employing Plaintiffs.” 30 (Id.)

      As an initial matter, these arguments fail to distinguish between

the two Defendants and—more importantly—fail to address what unjust



      30As set forth above, this argument relies on exhibits attached to Plaintiffs’
response that are not included in the Complaint.

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benefit Smith received separate and apart from Four Star. Without

allegations that Four Star’s corporate form should be ignored, it is

unclear how Smith can be individually liable based solely on his role as

Four Star’s owner and corporate officer. Cf. Foodland Distributors v. Al-

Naimi, 220 Mich. App. 453, 456 (1996) (“As a general proposition, the law

treats a corporation as an entirely separate entity from its stockholders,

even where one person owns all the corporation’s stock.”)

      With respect to Four Star, the Complaint supports Plaintiffs’

contention that they conferred a benefit on Four Star through their labor.

But it is unclear how the “foreseeably insufficient” reimbursement rate

between VCH and Four Star (see ECF No. 27, PageID.317) constitutes an

unjust benefit for which Plaintiffs can recover. Nor is it clear how this

reimbursement rate establishes a “practice of failing to pay Plaintiffs” by

Four Star. (See ECF No. 1, PageID.30, ¶ 205.) Most importantly, without

allegations that demonstrate how Four Star’s actions were actually

misleading, “the mere failure of performance by [VCH] does not give rise

to a right of restitution against [Four Star].” Landstar Express Am., 319

Mich. App.at 205.

      Accordingly, Plaintiffs unjust enrichment claim is dismissed.


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   IV.     Conclusion

         For the reasons set forth above, Defendants’ motion is GRANTED

IN PART and DENIED IN PART. Plaintiffs’ claims for violations of the

TVPRA (Count V) and unjust enrichment (Count VIII) are DISMISSED.

      The Court ORDERS Plaintiffs to provide supplementary briefing

regarding the implied contract question within two weeks of the date of

this Order. Defendants my respond within two weeks of the date that

Plaintiffs file their supplemental brief.

      IT IS SO ORDERED.

Dated: January 12, 2021                     s/Judith E. Levy
Ann Arbor, Michigan                         JUDITH E. LEVY
                                            United States District Judge

                      CERTIFICATE OF SERVICE

      The undersigned certifies that the foregoing document was served
upon counsel of record and any unrepresented parties via the Court’s
ECF System to their respective email or First Class U.S. mail addresses
disclosed on the Notice of Electronic Filing on January 12, 2021.

                                            s/William Barkholz
                                            WILLIAM BARKHOLZ
                                            Case Manager




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